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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X             1/19/2021
ADMIR CUTURIC,                                                 :
                                                               :   20-CV-3363 (RWL)
                                    Plaintiff,                 :
                                                               :   ORDER
                  - against -                                  :
                                                               :
THE JADE FARM LLC, et al.,                                     :
                                                               :
                                    Defendants.                :
---------------------------------------------------------------X

ROBERT W. LEHRBURGER, United States Magistrate Judge.

        This Order resolves Plaintiff’s letter motion at Dkt. 38.

        1. Wage notices: Defendants need only provide any wage notices provided to

Plaintiff and, to the extent not already produced, all wage notices/posters that were posted

in common areas during the entirety of Plaintiff’s employment with Defendants.

        2. Wage statements: This appears to be resolved. Defendants have already

produced or will be producing payroll records obtained from the payroll company.

        3. Tip sheets: Defendants must produce these in unredacted form even if they

bear the name of other employees who participated in the tip pool.            The personal

information of other employees will be deemed confidential, not to be disclosed to others,

and used solely for purposes of this case.

        4. Flood: This appears to be resolved as Defendants have agreed to produce any

records indicating the existence of the alleged flood.

        If any issues remain, the parties shall meet and confer to resolve them, and if they

cannot be resolved, the parties may bring them to the Court’s attention at that juncture.




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                                          SO ORDERED.



                                          _________________________________
                                          ROBERT W. LEHRBURGER
                                          UNITED STATES MAGISTRATE JUDGE

Dated: January 19, 2021
       New York, New York

Copies transmitted this date to all counsel of record.




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